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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Diamond B. Collins
                              Plaintiff,
v.                                                  Case No.: 1:21−cv−05401
                                                    Honorable Charles P. Kocoras
Hawx, LLC
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 28, 2022:


        MINUTE entry before the Honorable Charles P. Kocoras: Pursuant to Stipulation
of Dismissal filed on 4/5/2022 [17], individual claims against Defendant, HAWX, LLC
D/B/A HAWX PEST CONTROLL, LLC, are dismissed with prejudice. Pursuant to Fed.
R. Civ. P. 23(e), the class claims are dismissed without prejudice. Civil case terminated.
Mailed notice(vcf, )




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